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                         IN THE T]NITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION


  TINITED STATES OF AMERICA                            *
                                                       * CRIMINAL NO. I.O.OOl87-KD
  v.                                                   fr
                                                       *
  ERICA JORDAI\                                        *


                           PRELIMINARY ORDER OF FORFEITURE


         WHEREAS, in the Indictment in the above-entitled case, the United States sought

  forfeiture of properly which represented property used to facilitate the illegal activities of

  defendant ERICA JORDAN, pursuant to Title 18, United States Code, Sections 982(a)(1), and

  Title 21, United States Code, Section 853;

         AND WHEREAS, based upon the Indictment, the guilty plea entered on November 9,

  2010, and the Plea Agreement entered into between the United States and defendant ERICA

  JORDAII, and for the reasons stated, it is hereby;

         ORDERED, ADJUDGED AND DECREED, thatpursuantto Title 18, United States

  Code, Section 982(a)(1), Title2L, United States Code, Section 853 and Federal Rule of Criminal

  Procedure 32.2(b), the interest of the defendant, ERICA JORDAN in the property identified as

  follows is hereby condemned and forfeited to the United States for disposition according to law:

         (1) One Arcadia.45 caliber handgun with clip and ammunition, serial number

         DA5257, and

         (2) Any interest claimed in $391893.00 in United States currency seized from the
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          defendant's residence, reportedly the property of and forfeited by Lorenzo Evans,

          Jr. in Criminal No. 10-00139-CB.

          AND WHEREAS, by virtue of said guilty plea and said Plea Agreement, the United

  States is now entitled to, pending possible appeal herein, reduce the said property to its

  possession and notify any and all potential third parties who have or may have an interest in the

  forfeited property, pursuant to Title 21, United States Code, Section 853 and Rule 32.2(b) of the

  Federal Rules of Criminal Procedure.

          NOW THEREFORE,IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

          That based on the Plea Agreement, the factual resume, the guiltyplea, and Fed.R.Crim.P

  32.2(b)(3), and pursuant to the defendants' consent, allright, title and interest of defendant,

  ERICA JORDA|I, in the above-described property is hereby forfeited to and vested in the

  United States of America for disposition in accordance with law, subject to the provisions of

  Title2l, United States Code, Section 853(n).

         That the aforementioned property is authorized to be held by the United States Marshals

  Service in their secure custodv and control.

         Pursuant to 2l U.S.C. $ 853(nXl) and the Attorney General's authority to determine the

  manner of publication of an Order of Forfeiture in a criminal case, the United States shall publish

  notice of this order on an official government internet site (www.forfeiture.gov) for at least 30

  consecutive days.

         This notice will state that anyperson, other than the defendant, having or claiming alegal

 interest in any of the above described forfeited property must file a petition with the Court within

 60 days of the first date of publication of notice (which date shall be set forth in the notice). The
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  petition shall be signed by the petitioner under penalty of perjury and shall set forth the nature

  and extent of the petitioner's right, title or interest in the forfeited property, the time and

  circumstances of the petitioner's acquisition of the right, title or interest, and any additional facts

  supporting the petitioner's claim and the relief sought. The petition must be filed with the Clerk

  of the Court, 113 St. Joseph Street, Mobile, Alabama 36602 and a copy served upon Assistant

  United States Attorney, Michele C. O'Brien, 63 South Royal Street, Suite 600, Mobile, Alabama

  36602.

            The United States may also send notice to anyperson who reasonably appears to be a

  potential claimant with standing to contest the forfeiture in the ancillary proceeding.

            After the disposition of any motion filed under Fed. R. Crim. P.32.2(c)(l)(A) and before

  aheaing on the petition, discovery may be conducted in accordance with the Federal Rules of

  Civil Procedure upon showing that such discovery is necessary or desirable to resolve factual

  issues.

            The United States shall have clear title to the property following the Court's disposition

  of all third-party interests, or, if none, following the expiration of the period provided in Title 21,

  United States Code, Section 853(nX2) for the frling of third-partypetitions.

            Pursuant to Fed. R. Crim. P.32.2@)(3), and the Plea Agreement signed by the parties,

  this Preliminary Order of Forfeiture shall become final as to the defendants at the time of

  execution and shall be made part of the sentence included in the judgment. If no third party files

  a timely claim, this Order shall become the Final Order of Forfeiture, as provided by Fed. R.


  Crim. P.32.2(c)Q).

            The Court shall retain jurisdiction to enforce this Order, and to amend it as necessary
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  pursuant to Fed. R. Crim. P.32.2(e).

         The Clerk of the Court shall forward three (3) certified copies of this Order to Assistant

  U.S. AuorneyMichele C. O'Brien, U.S. Attorney's Office, Southern District of Alabama.




         DATED thk U           day of Marc h,20LI.




                                               KRISTI K. DuBOSE
                                               UNITED STATES DISTRICT JUDGE
